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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 HOME POINT FINANCIAL       )
 CORPORATION,               )
                            )
                Plaintiff,  )
     vs.                    )             Case No. 6:20-cv-01819-CEM-EJK
                            )
 DONALD MARK LANE, CANDACE )              Judge Carlos E. Mendoza
 ROBERTSON, CHRISTOPHER     )
 WILKINS, and GUARANTY HOME )
 MORTGAGE CORPORATION,      )
                            )
                Defendants. )

    PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION TO STRIKE
      PLAINTIFF’S SUPPLEMENTAL EXPERT REPORT (Dkt. #158)

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        This Court should deny Defendants’ motion to strike (“Mot.”) the

 supplemental expert report of Robert Crandall (“Crandall”).               As Defendants

 acknowledge, Plaintiff Home Point Financial Corporation (“Home Point”) timely

 served opening and rebuttal reports from Crandall. (Mot. 1.) Collectively, those

 two reports contained Crandall’s opinions on the proper method of evaluating and

 calculating the damages that Home Point is seeking as a result of Defendants’

 conduct. (See generally Mot., Exs. 1 and 2.1)

        The supplemental report at issue addresses only two developments that

 occurred following the service of Crandall’s rebuttal report.             First, Crandall

 corrected certain inputs in his model of Home Point’s damages related to the

 retention, recruitment, and training of replacements for associates whom

 Defendants poached as a result of information that was pointed out to him at his

 deposition two days before the supplemental report was served. While his model’s

 methodology in calculating those damages remained the same, he revised certain

 of the inputs in the model—ultimately resulting in a reduction in that calculation

 of over $225,000. Second, Crandall revised his calculation of GHMC’s estimated

 profits subject to disgorgement because, over a week after service of Crandall’s

 rebuttal report, Defendant GHMC produced key financial information relevant to

 the disgorgement calculations that Defendants’ expert relied on in an unauthorized

 “rejoinder report” served weeks after Crandall’s rebuttal report. That new material

 was not previously available to Crandall and provided a more reliable basis to


 1 This Opposition cites Crandall’s reports, attached as Exhibits 1, 2, and 3 to the Motion.

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 calculate GHMC’s profitability and therefore the appropriate disgorgement

 amount.

       Contrary to Defendants’ claims, neither of these changes constitutes a new

 opinion. Instead, they represent the classic grounds for supplementing an expert’s

 report—they “correct inaccuracies and add information that was not available at

 the time of the initial report.” Brincku v. Nat’l Gypsum Co., 2012 WL 1712620, at

 *2 (M.D. Fla. May 15, 2012) (cleaned up); see Fed. R. Civ. Proc. 26(e). In fact,

 under Rule 26(e), Crandall was required to submit a supplemental report to

 address these issues. And, ironically, they are the same types of corrections and

 updates that Defendants’ own expert has made in supplemental reports in other

 cases. See Lincoln Rock, LLC v. City of Tampa, 2016 WL 6138653, at *7 (M.D. Fla.

 Oct. 21, 2016) (denying, in relevant part, motion to strike supplemental report that

 “corrected Dr. Fishkind’s calculation”).

       In short, no matter how construed, Crandall’s supplemental report should

 not be excluded as the updated calculations are substantially justified and

 Defendants are not harmed by the supplementation. Home Point produced the

 supplemental report as quickly as possible and within the discovery window—well

 before any dispositive motions are due, let alone trial. And in the unlikely event

 Defendants are genuinely surprised or concerned by the updated calculations,

 there is ample time for a short supplemental deposition (which Plaintiff offered

 and Defendants summarily rejected, preferring instead to engage in unnecessary

 motion practice).   These circumstances simply do not warrant the “drastic”

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 sanction of excluding Crandall’s testimony. SFR Servs. LLC v. Elec. Ins. Co., 2021

 WL 1193284, at *5 (M.D. Fla. Mar. 30, 2021).

                            STATEMENT OF FACTS

       This case is about Defendants’ orchestrated hiring raid of over a dozen

 associates from Home Point’s Maitland, Florida office in flagrant violation of

 enforceable non-solicitation covenants. See generally, Home Point’s Mot. for

 Preliminary Injunction (Dkt. #11). To assess the impact of the raid, Home Point’s

 counsel retained Robert Crandall, an experienced expert in evaluating economic

 damages in employment and other litigation matters. (Ex. 1, ¶ 2.)

       On March 31, 2023, Crandall timely served his initial report. In it, Crandall

 explained that the first component of his assignment was to “estimate damages

 Home Point suffered due to Defendants’ actions.” (Id. ¶ 1). As he explained, those

 damages are composed of, among other things: (1) retention bonuses and salary

 increases Home Point gave following Defendants’ raid; (2) costs associated with

 recruiting replacements, including recruiter fees and signing bonuses; and (3)

 costs associated with training the new, replacement associates. (Id. ¶¶ 25, 27, 32–

 43.) Reviewing depositions and documents produced by the date he issued each

 report, Crandall itemized each of those components in tables. For example, in light

 of the raid, Home Point was forced to raise the salaries of some of the associates

 who Defendants targeted in order to induce them to remain at (or return to) Home

 Point. (Id. ¶¶ 35-38 & Table 1.) Similarly, Home Point had to recruit and hire

 replacement associates, which entailed considerable costs in the form of recruiter

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 commissions and signing bonuses. (Id. ¶¶ 39-41 & Tables 2 and 3.) To calculate

 those costs, Crandall looked at the records relating to the 11 associates who were

 first hired after Defendants’ raid. (Id.)

       Crandall also disclosed in his Initial Report that another component of his

 economic analysis was to estimate the cost savings and profits that GHMC

 obtained from the raid. (Id. ¶¶ 44–46.) With respect to GHMC’s profits, Crandall

 opined that GHMC profited from the work (and added productivity) performed by

 the poached associates, especially because the raid took place “during a time period

 when the demand for loans was at a historic high.” (Id. ¶ 46.) But he could not

 estimate those profits at that time because GHMC had refused to produce any

 information Home Point requested relating to disgorgement—claiming that it did

 not have any records responsive to those requests. (Id.) So Crandall expressly

 reserved the right to supplement his opinions to reflect any new information

 produced in later productions, as the parties were still meeting and conferring over

 the requests. (Id.)

       About one month after Crandall served his Initial Report, Defendants served

 a report from their own expert, Dr. Henry Fishkind. In critiquing Crandall’s

 analysis, Fishkind opined that the damages related to recruiting costs and signing

 bonuses should be zero because of various market factors (e.g., employee

 turnover). Fishkind did not comment on or criticize Crandall’s identification of the

 newly recruited associates.



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         Crandall then prepared and served a timely Rebuttal Report on May 15,

 about two weeks after receipt of Fishkind’s Report.       Besides responding to

 Fishkind’s opinions, Crandall’s Rebuttal Report set forth a disgorgement analysis

 to estimate GHMC’s additional profits as a result of the raid. (Ex. 2, ¶ 24.) This

 was possible because in the intervening period since the Initial Report, GHMC

 produced information that Crandall believed related to the “number of loans closed

 by its underwriters, including the solicited associates.” (Id.) Using additional

 information from the Mortgage Bankers Association regarding the quarterly

 average profitability per loan in the industry, Crandall was able to estimate

 GHMC’s extra profitability by multiplying that average profitability by the number

 of loans closed by the solicited Home Point associates in the fourth quarter of

 2020. (Id. ¶ 28 & Table R5.) Crandall advised, however, that this calculation

 “likely understates the profits generated by the work of solicited Home Point

 associates” because the newly produced information “cuts-off in December 2020,”

 and GHMC had not produced information about the associates’ productivity in

 2021.    (Id.)   As Home Point had demanded production of 2021 financial

 information in discovery, Crandall included another caveat that he would “update

 the analysis” in the event more information was produced. (Id.)

         As noted above, two key developments occurred after Home Point served

 Crandall’s rebuttal report. First, GHMC made another document production on

 May 24 that included a spreadsheet (GHMC003297) describing the number of

 loans that GHMC funded (rather than merely worked on) during each month of

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 2020. (Ex. 3, ¶ 6.) Defendants’ expert then relied on that and other documents to

 estimate—at his deposition and in a June 9 Rejoinder Report—GHMC’s profits as

 about $1.8 million.       Id.; see also Fishkind Dep. Tr. 138:8–17 (confirming

 GHMC003297 (Deposition Exhibit 250) is “the spreadsheet . . . with the data that

 you used to calculate” Fishkind’s profit per loan estimate).2 Crandall did not have

 either this underlying data or Fishkind’s disgorgement opinions before he served

 his Rebuttal Report. Importantly, as only became clear at the end of the discovery

 period, GHMC never produced the 2021 financial data that Home Point requested.

        Second, Crandall was deposed on June 13, at which point Defendants

 identified—for the first time—purported inaccuracies in Crandall’s report

 concerning certain inputs to Crandall’s damages model. For example, Defendants’

 counsel noted that certain replacement associates listed in Crandall’s original

 damages tables had been offered employment before the raid (but commenced

 employment afterward), such that Defendants suggested they were not true

 replacement hires due to Defendants’ misconduct. (See Crandall Dep. Tr. 146:13–

 147:12; Ex. 3, ¶ 3.3) Defendants also identified minor offsets that were warranted

 because (1) certain Home Point associates had been promised salary increases

 shortly before the raid occurred and (2) the solicited associates forfeited certain

 unvested bonuses as a result of leaving Home Point, thereby allegedly reducing

 out-of-pocket damages.       (Id. ¶¶ 5, 10.)     When presented this information at



 2 This excerpt of Fishkind’s deposition is attached as Exhibit A.
 3 Cited excerpts of Crandall’s deposition are attached as Exhibit B.

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 deposition, Crandall explained that he would consider the issues and update his

 report to address them. (E.g., Ex. B, 156:5–14.)

       Two days later—on the discovery deadline—Crandall served a Supplemental

 Report that corrected these issues and revised his disgorgement analysis based on

 the newly produced spreadsheet of the loans GHMC actually funded in 2020

 (GHMC003297), as well as GHMC’s ultimate failure to produce 2021 financial

 information.   (Ex. 3.)    The Supplemental Report retains the same overall

 methodology for calculating Home Point’s damages and GHMC’s profits. When

 Defendants challenged the propriety of Crandall’s Supplemental Report, Home

 Point’s counsel explained that these corrections and revisions were based on

 updated information and required under Rule 26. Home Point’s counsel offered

 that Crandall could make himself available for a deposition regarding his

 Supplemental Report. Defendants instead filed this motion.

                                   ARGUMENT

 I.    The Supplemental Report Does Not Offer New Opinions.

       The Rules governing expert reports require timely disclosure but neither

 demand nor expect perfection. Rule 26(e) requires a party to supplement or

 correct its expert report “in a timely manner if the party learns that in some

 material respect the disclosure or response is incomplete or incorrect, and if the

 additional or corrective information has not otherwise been made known to the

 other parties during the discovery process or in writing.” Fed. R. Civ. Proc. 26(e).

 This rule, which applies equally to “information included in the [expert] report and

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 to information given during the expert’s deposition,” states that “[a]ny additions

 or changes to this information must be disclosed by the time the party’s pretrial

 disclosures under Rule 26(a)(3) are due”—i.e., 30 days before trial. Id. at (e)(2).

        Home Point’s Supplemental Report fits squarely within Rule 26(e)’s ambit.

 Crandall adhered to the same methodology and maintained his same “core

 opinions.” In re Accutane Prod. Liab. Litig., 2007 WL 201091, at *1 (M.D. Fla.

 Jan. 24, 2007) (denying motion to strike where supplemental report added “a

 degree of new or additional rationale” but “the core opinions remain the same”).

 He merely corrected certain inputs in calculating Home Point’s sustained damages

 and updated his prior disgorgement analysis based on more relevant data that

 Defendants produced after Crandall already completed and served his rebuttal

 report. As explained below, both revisions are within the province of Rule 26(e).

         A. Home Point’s Costs to Retain, Recruit, and Train Employees

       Crandall’s initial report laid out his methodology for calculating the costs

 that Home Point incurred due to Defendants’ raid. In applying that methodology,

 Crandall looked at the retention bonuses Home Point paid to employees who

 reported to its Maitland office (Ex. 1, ¶¶ 3, 25, 32–34), as well as salary increases

 (¶¶ 35–38), recruitment costs and signing bonuses (¶¶ 39–41), and training costs

 (¶¶ 42-43) that Home Point paid or incurred to replace the raided associates.

       The Supplemental Report corrected inaccuracies in certain of those

 calculations, as permitted by Rule 26(e). None of these corrections would have

 come to Defendants as a surprise, as they were all discussed at Crandall’s

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  deposition when counsel questioned him about certain of his inclusions in the

  above components. For example, Defendants’ counsel noted that one of the

  returning associates had received an approved salary increase as of September 7,

  2020 (shortly before the raid). Crandall acknowledged at deposition that given

  that information he “would make a small adjustment to account for that” pre-raid

  salary increase. (Ex. B, at 123:21–125:3; see also id. at 55:6–57:11, 126:13–129:8

  (similar questioning regarding certain retention bonuses and unvested

  Underwriter Appreciation Fund amounts).)

        As would be expected by an expert witness, Crandall told Defendants’

  counsel that he would carefully review the data again and might revise his opinion

  based on the identified information. (Id. at 57:1–5.) At his deposition, Crandall

  agreed that using the offer date would result in a more relevant proxy for

  estimating damages, and stated that he would update his tables. (Id. at 156:5–14.)

  Crandall explained, however, that the update would not change his methodology

  but would instead simply revise which individuals counted as replacement hires

  and use their respective signing bonuses and recruiting information. (Id.)

        Two days later, Crandall’s Supplemental Report followed through on those

  same corrections.     He included the offsets that Defendants flagged at his

  deposition. (Ex. 3, ¶¶ 9–13.) And he updated his list of replacement associates to

  reflect the first employees with offer dates following the raid (with a short buffer

  “to ensure the hiring process occurred after the raid”). (Id. ¶ 15; see also id. ¶¶ 14,

  16–19.) As a result, Crandall calculated that those revisions to his damages model

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  led him to reduce his estimated damages by around $225,000. (Compare Ex. 1,

  ¶ 47 (lines 2–6 of Table 7), with Ex. 3, ¶ 26 (lines 2–6 of Table S6).)

        These garden-variety corrections are precisely the reason Rule 26 requires a

  supplemental report. “There is nothing in Rule 26 prohibiting a witness, even an

  expert witness, from timely providing new or modified opinions to complete or

  correct information previously provided or reported.” Tampa Bay Water v. HDR

  Eng’g, Inc., 2011 WL 3475548, at *5 (M.D. Fla. Aug. 9, 2011). The duty in Rule 26

  to supplement “extends both to information included in the report and to

  information given during the expert’s deposition.”         Id.   Ultimately, what is

  important is that “the core opinions remain the same.” In re Accutane, 2007 WL

  201091, at *1.

        In fact, Defendants’ own expert has personal experience in correcting initial

  opinions via a supplemental report in similar circumstances. In Lincoln Rock,

  2016 WL 6138653, Fishkind prepared an initial report calculating plaintiff’s

  damages.    The opposing expert challenged certain inclusions in Fishkind’s

  calculations. Id. at *5 (noting Fishkind “included a facility” that he elsewhere said

  “should not be considered as a comparable facility,” and he “failed to account for”

  a $1 million offset). Two months later—and on the day of the discovery deadline—

  Fishkind served a supplemental report that corrected those mistakes.              Id.

  (explaining corrections were based on “a coding error that [the other side’s expert]

  identified”). Despite the delay and the fact that Fishkind’s corrections “are based

  on information available to him at the time of his Initial Report,” the trial court

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  concluded they were the type of corrections that Rule 26(e)(1)(A) requires. Id. at

  *7. In denying that portion of a request to strike, the court explained that “[t]hese

  corrections did not advance a new theory of damages, but instead corrected Dr.

  Fishkind’s calculation under the method of calculating damages he espoused in his

  Initial Report.” Id.

        The corrections in Crandall’s supplemental report are indistinguishable

  from those in Fishkind’s supplemental report that the Lincoln Rock court

  approved. In both cases, the experts overlooked certain information or omitted

  certain offsets to their damages calculations. In both cases, the other side pointed

  out those issues either in deposition or (in Lincoln Rock) in a rebuttal report. And

  in both cases, the experts served supplemental reports on the day of the discovery

  deadline to address the matters that had been identified. See 2016 WL 6138653,

  at *5–7. The Lincoln Rock court accepted the supplemental report over a motion

  to strike, and there is simply no basis for a different result here.

        Defendants’ arguments to the contrary fall flat. They complain (Mot. 10)

  that Crandall made these corrections after Defendants confronted him with the

  issues, and they object (id. at 11) that he already had the information underlying

  these corrections when he issued his original reports, such that the Supplemental

  Report stemmed from “oversight and error.” Yet those are the same arguments

  and circumstances considered in Lincoln Rock, which the court rejected when it

  accepted Fishkind’s supplemental report.         See 2016 WL 6138653, at *5–7.

  Moreover, Home Point acted with remarkable speed to make the necessary

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  corrections: Crandall served the Supplemental Report just two days after the

  inaccuracies surfaced, whereas Fishkind waited over two months to correct his

  mistakes that were nonetheless accepted. Id. at *5 (noting opposing report served

  on June 16 and Fishkind’s supplemental report served on August 29). Crandall’s

  supplemental report is also timely because it was disclosed months before the

  Daubert deadline, the dispositive motions deadline, the pretrial disclosures

  deadline under Rule 26(a)(3), and trial. See FRCP Rule 26(e)(2).

        B.     Updates to Crandall’s Disgorgement Calculation

        Besides the above corrections, Crandall used the Supplemental Report to

  update his disgorgement analysis with information that GHMC produced after

  service of his rebuttal report. See Fed. R. Civ. Proc. 26(e)(1)(A) (requiring update

  where disclosure “is incomplete or incorrect”).

        Defendants, not Home Point, are responsible for the timing of Crandall’s

  updated disgorgement analysis. As explained in Crandall’s initial report, his

  damages model would account for the profits that GHMC generated as a result of

  hiring away Home Point’s associates. (Ex. 1, ¶ 31). At the time of his initial report,

  however, Defendants had refused to produce any documents responsive to Home

  Point’s requests related to disgorgement. (Id.) He therefore expressly “reserve[d]

  the right to supplement [his] report to reflect information learned from any

  subsequent productions.” (Id.) When Crandall served his rebuttal report, he noted

  that although GHMC had produced some information about the number of loans

  that the raided Home Point associates had worked on, the company still had not

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  produced information related to GHMC’s profitability per loan or data after

  December 2020. (Ex. 2, ¶ 27.) He therefore noted that his disgorgement analysis

  could be revised in the event GHMC produced new information. (Id. ¶ 28 & n.41.)

        That is exactly what happened. Over a week after Crandall served his

  Rebuttal Report, GHMC produced a document that provided new information

  directly related to Crandall’s disgorgement analysis.         A document stamped

  GHMC003297, produced on May 24, 2023, “shows the number of units funded per

  month through December of 2020.” (Ex. 3, ¶ 21.) As Crandall explained, this was

  the first evidence showing the number of loans funded, as GHMC had produced

  only the number of loans worked on. (Id. ¶ 21 & n.36.) And this was relevant data

  that Fishkind also relied on in his own unauthorized supplemental report served

  after Crandall’s rebuttal report. (See Ex. A, at 138:8–17.)

        Defendants’ reliance on Brincku, 2012 WL 1712620, is misplaced. (Mot. 7.)

  Brincku is distinguishable because the expert served an untimely supplemental

  report that introduced an entirely new theory of causation. That case concerned

  the cause of corrosion to plaintiff’s home, and although the expert’s original report

  “stated that sulfur reducing bacteria produce hydrogen sulfide” that contributed to

  the corrosion, the expert later “informed defendant of a new theory, stating that

  the cause of the corrosion is sulfuric acid produced by sulfur oxidizing bacteria.”

  2012 WL 1712620, at *1-2. Far from changing horses midstream as in Brincku,

  Crandall has consistently adhered to his methodology and only revised the

  numbers based on new information he found to be more relevant. “This newly

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  obtained evidence provides a sufficient basis for the additive opinions” that

  Crandall offers in his Supplemental Report. Aileron Inv. Mgmt, LLC v. Am.

  Lending Ctr., LLC, 2022 WL 523549, at *3 (M.D. Fla. Feb. 22, 2022).

  II.   The Supplemental Report Is Justified and Harmless.

        Even if Defendants were correct—and they are not—that Crandall’s

  Supplemental Report is not permitted under Rule 26(e), exclusion is still

  inappropriate here. An untimely disclosure remains acceptable if it is substantially

  justified or harmless. Fed. R. Civ. Proc. 37(c). In applying this standard, courts

  exercise caution before striking expert opinions because “excluding expert

  testimony is viewed as a ‘drastic’ sanction requiring careful consideration.” SFR

  Servs., 2021 WL 1193284, at *5 (citations omitted). Courts weigh five factors to

  determine whether a failure to disclose evidence is substantially justified or

  harmless: (1) the surprise to the party against whom the evidence would be

  offered; (2) the ability of that party to cure the surprise; (3) how much allowing the

  evidence would disrupt the trial; (4) the importance of the evidence; and (5) the

  non-disclosing party’s explanation for its failure to disclose the evidence. Id. None

  of these factors supports exclusion here.

        First, Defendants cannot claim to be surprised. Crandall repeatedly stated

  at his deposition that in light of the new information he would revise his tables and

  calculations. He then did so within two days of the deposition and just before

  discovery closed. Defendants’ suggestion (Mot. 15) that they were surprised that

  Crandall “unexpectedly change[d] the value of seven of his eight categories of

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  damages” is not credible. It was Defendants’ own counsel who pointed out certain

  issues at deposition that prompted the substitution of several of the replacement

  associates—Crandall told him in real time that he would be updating his report.

  (See, e.g., Ex. B, 156:5–21, 164:12–20.)

          Likewise, Crandall’s updated disgorgement analysis stemmed from

  Defendants’ stonewalling.      Crandall explained at deposition that the rebuttal

  report’s calculation was “understated” because GHMC had not produced key

  information about the profitability per loan in 2021. (Id. at 179:10-19.) To be sure,

  Home Point’s requests for production to GHMC—which were served on February

  24, 2023, long before the discovery cutoff—specifically demanded production of

  2021 financial information to show the profitability of the raided team members to

  GHMC. (See Home Point’s Second Set of RFPs to GHMC, Request Nos. 10–13.4)

  After reserving the right to supplement for post-December 2020 data (See Ex 2,

  ¶ 28), and as the discovery period closed without GHMC producing those

  documents, Crandall reasonably used the information that GHMC had produced

  shortly before the supplemental report to extrapolate GHMC’s profits through

  2021.

          Second, Defendants could have easily cured any supposed surprise. Home

  Point offered (and continues to offer) Defendants the opportunity to take a

  supplemental deposition regarding the Supplemental Report—as permitted under

  the local rules. See Middle District’s Discovery Handbook, § I.F (providing that


  4 Home Point’s relevant requests for production are attached as Exhibit C.

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  counsel, by agreement, may conduct discovery after the formal completion date).

  Even though this is the standard remedy in these situations, Defendants have

  refused to entertain it, preferring instead to file their unnecessary motion to strike.

  See, e.g., SFR Servs., 2021 WL 1193284, at *5 (“[A]ny such surprise can be cured

  at this juncture by reopening discovery solely with respect to [the expert’s]

  testimony”); Engle v. Taco Bell of Am., Inc., 2011 WL 883639, at *2 (M.D. Fla.

  Mar. 14, 2011) (similar).

        Third, Crandall’s Supplemental Report has no prospect of disrupting trial.

  Home Point served the report before the discovery cut-off, more than two months

  before the motion cutoff deadline (including for Daubert motions), and trial is not

  set to begin until March 2024. Crandall revised his opinions promptly after the

  inaccuracies and new information were brought to light. This is not a case of eve-

  of-trial surprise. SFR Servs., 2021 WL 1193284, at *5 (denying motion to exclude

  expert’s opinion because it “would not disrupt the trial, which is still several

  months away”). Defendants handwave away this consideration by noting (Mot. 16)

  that Home Point served the supplemental report earlier than the report accepted

  in SFR Services that was served in response to a Daubert motion. Defendants’

  suggestion that Home Point should have waited until a Daubert motion to

  supplement is nonsensical.

        The fourth and fifth factors weigh heavily in favor of Home Point as well. A

  complete and accurate damages analysis is obviously important to Home Point’s

  case. And Crandall is Home Point’s only expert in the case, “which makes any

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  supplemental analysis contained in his affidavit significant to [plaintiff’s]

  presentation of its case.” Id. And certain portions of Crandall’s supplemental

  report were necessary given new information first produced by GHMC after both

  of Crandall’s reports already had been submitted. Specifically, GHMC003297 was

  not produced until May 24, well after Crandall’s reports were due and timely served

  under the Third Amended Scheduling Order. As Crandall explained (at Ex. 3,

  ¶¶ 21-23), this new information was the first evidence of the amount of loans that

  GHMC actually funded (rather than worked on). That is a more relevant data point

  than loans worked on (sometimes called “decisioned”), as that metric would

  include loans that may not have closed. (See id. ¶ 21 & n.36.) “Using the same

  methodology from [his] Rebuttal Report,” Crandall used the new data to estimate

  GHMC’s profits. (Id. ¶ 25.)

        Considering all the circumstances, Defendants’ protestations and attempts

  to conjure up harm are unpersuasive. They repeatedly complain that Crandall

  “waited until after his deposition” to produce the Supplemental Report. (Mot. 12,

  14.) But, naturally, people cannot correct their mistakes before they come to their

  attention. And for unexplained reasons, Defendants and Fishkind decided not to

  identify these inaccuracies in Fishkind’s reports, choosing instead to wait until

  Crandall’s deposition (which they knew was scheduled days before the discovery

  cutoff).   Defendants’ objection about timing rings particularly hollow given

  Fishkind’s own experience in supplementing a report months after learning of his

  inaccuracies—and also on the day of the discovery cutoff. See Lincoln Rock, 2016

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  WL 6138653, at *5. The invocation of the Court’s denial of an earlier requested

  extension similarly goes nowhere. (See Mot. 12.) Defendants do not even try to

  demonstrate that the Supplemental Report will lead to any trial delays. Home

  Point promptly offered Crandall for a supplemental deposition, which could easily

  have been conducted before the Court’s established motion deadlines, let alone

  trial.

           Defendants heavily rely on the Eleventh Circuit’s decision in Guevara v.

  NCL (Bahamas) Ltd., 920 F.3d 710 (11th Cir. 2019).               The circumstances in

  Guevara are very different. There, the party’s supplemental reports added new

  rationales not found in the initial report (which itself was untimely). Id. at 718

  (explaining first supplemental report relied on “industry standards” never

  mentioned in the initial and rebuttal reports). Although the first supplemental

  report was served “on the eve of [the expert’s] deposition,” the expert then

  abruptly left the deposition early “after only three hours” of questioning. Id. at 719.

  The differences are even more stark with respect to the second supplemental report

  at issue in Guevara. It was served a month after the close of the discovery and

  days after the cutoff for dispositive and Daubert motions. Id.5

           Guevara actually supports Crandall’s supplementation of his disgorgement

  analysis using GHMC’s eleventh-hour production of key metrics, as the Eleventh

  Circuit noted that the district court did not strike the portions of the first



  5 Similarly, the expert affidavit in Reese v. Herbert, 527 F.3d 1253, 1264-65 (11th Cir.

  2008), was not served until seven weeks after the discovery cut off.
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  supplemental report related to newly produced information. Guevara, 920 F.3d

  at 718. And here, unlike in Guevara, not only did Crandall adhere to the same

  methodology and rationales of his prior reports, he could not have supplemented

  his report before deposition; he had not discovered the inaccuracies pointed out by

  Defendants’ counsel during deposition.

        In sum, Crandall supplemented his opinions promptly and in good faith.

  Instead it is Defendants’ Motion that attempts to play a game of “gotcha,” by

  unjustifiably seeking to bind Home Point to opinions that were based on

  understandable oversights or incomplete information because of Defendants’ own

  refusals to produce and delays in producing relevant documents. Neither Rule 26

  nor common sense supports such tactics.

                                   CONCLUSION

        For these reasons, Defendants’ motion to strike the supplemental expert

  report of Robert Crandall should be denied.

                                      HOME POINT FINANCIAL CORPORATION

  Dated: July 19, 2023                By: /s/ Andrew S. Rosenman
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